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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-340
: MAGISTRATE NO. 21-MJ-330
ARTHUR JACKMAN, and :
PAUL RAE, : VIOLATIONS:
: 18 U.S.C. §§ 1512(c)(2), 2
Defendants. : (Obstruction of an Official Proceeding)

: 18 0U.8.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(B)
(Entering and Remaining in the Gallery of
Congress)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G).
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, the defendants
ARTHUR JACKMAN and PAUL RAE attempted to, and did, corruptly obstruct, influence, and

impede an official proceeding, that is, a proceeding before Congress, specifically, Congress’s
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certification of the Electoral College vote as set out in the Twelfth Amendment of the Constitution
of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, the defendants ARTHUR
JACKMAN and PAUL RAE did knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President and Vice President-elect were temporarily visiting,
without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, the defendants ARTHUR
JACKMAN and PAUL RAE did knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, when and so that such
conduct did in fact impede and disrupt the orderly conduct of Government business and official
functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN
willfully and knowingly entered and remained in the gallery of either House of Congress, without
authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, the defendants ARTHUR
JACKMAN and PAUL RAE willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the
intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SIX
On or about January 6, 2021, within the District of Columbia, the defendants ARTHUR
JACKMAN and PAUL RAE willfully and knowingly paraded, demonstrated, and picketed in
any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Chay Dhl Ryd

Attorney of the United States in
and for the District of Columbia.
